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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Mayor and City Council of Baltimore,     )
                                         )
                            Plaintiff,   )
       v.                                )   Case No. 2:23-cv-00828-GAM
                                         )
Merck Sharp & Dohme Corp.,               )   ORAL ARGUMENT REQUESTED
                                         )
                            Defendant.   )
                                         )


            DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS
                 MOTION TO DISMISS THE COMPLAINT (ECF 1)
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        Defendant Merck Sharp & Dohme LLC (f/k/a Merck Sharp & Dohme Corp.) (“Merck”)

respectfully submits this Memorandum of Law in Support of its Motion to Dismiss the

Complaint (ECF 1) (“Complaint”) filed by the Mayor and City Council of Baltimore

(“Plaintiff”).

                                        INTRODUCTION

        The Complaint fails to state a claim upon which relief may be granted pursuant to Federal

Rule of Civil Procedure 12(b)(6) and thus must be dismissed. Far from alleging that Plaintiff

was injured by an anticompetitive aspect of Merck’s conduct, the Complaint makes clear that

Merck sold pediatric vaccines—including its rotavirus vaccine—to healthcare providers at “rock

bottom prices,” even though GSK (the other manufacturer of rotavirus vaccines in the United

States) chose not to compete with Merck on price. The allegations in the Complaint also

confirm that GSK has an extensive portfolio of vaccines that would permit it to offer a bundle

comparable to that offered by Merck. Thus, GSK—a multi-billion dollar, global life sciences

company that offers a robust portfolio of vaccines in the United States—is nothing like the

single-product supplier that this Circuit has recognized may be unable to compete against

bundled discounts in some circumstances.

        These allegations demonstrate that Plaintiff cannot meet its burden to plead that Merck’s

conduct has harmed competition or foreclosed a substantial portion of the market, let alone that

Plaintiff has suffered an injury stemming from an anticompetitive aspect of Merck’s conduct, as

required for Plaintiff to have antitrust standing to sue. This is all the more the case because the

Complaint includes no well-pleaded factual allegations regarding how Plaintiff was injured

based on the contracts Plaintiff challenges, which are between Merck and physician buying

groups (“PBGs”). Pediatricians can purchase vaccines from Merck directly pursuant to those

contracts. Indeed, pediatric clinics filed an identical case, through the same counsel as Plaintiff’s


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counsel here, against Merck in 2018. That case had a myriad of deficiencies, one of which led to

its undoing in the Third Circuit, but it at least attempted to tie the contracts at issue to the

plaintiffs at issue. With those plaintiffs and that putative class now precluded from proceeding in

Federal Court, plaintiffs’ counsel have now endeavored to find a plaintiff who purports to

represent a different, more attenuated putative class—more specifically, a plaintiff that does not

and cannot allege that it purchased vaccines from Merck under any of the applicable contracts or

that it had any connection to those contracts. Instead, all that this Plaintiff can claim in

conclusory fashion is that it was somehow “injured” because it indirectly “purchased, paid,

and/or provided reimbursement for some or all of the purchase price of rotavirus vaccines,

including Rotateq.” Compl. ¶ 8. Plaintiff provides no well-pled factual allegations in the

Complaint as to how Merck’s contracts with completely different entities caused any harm to

Plaintiff.

        Plaintiff’s state law claims fare no better. Those claims mirror the federal antitrust claims

and thus fail to state a claim pursuant to Rule 12(b)(6) for the same reasons. In addition, as

shown in more detail below and as summarized in Appendix 1 hereto, Plaintiff’s state law claims

suffer from numerous additional fatal flaws. For example, Plaintiff lacks standing to assert

claims in 24 jurisdictions because it does not allegedly reside, or reimburse members’ purchases,

in those states. Plaintiff’s threadbare recitations of the elements of various state antitrust and

consumer protection claims also fall well short of adequately stating a claim under any

jurisdiction’s antitrust or consumer protection laws.

        In short, the legal deficiencies facing this Plaintiff and the putative class are even more

daunting than those that faced the original plaintiffs and putative class. Thus, as discussed




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further below, the Complaint does not state a claim under Fed. Civ. P. 12(b)(6) and should be

dismissed in its entirety with prejudice.

                            ALLEGED FACTUAL BACKGROUND

       A. Pediatric Vaccine Manufacturers in the United States

       Four companies sell multiple pediatric vaccines in the United States: GSK, Merck, Pfizer

and Sanofi. Compl. ¶ 38.1 GSK allegedly sells 10 pediatric vaccines; Merck and Sanofi each

sell nine; and Pfizer sells two. Id.2 While the portfolios offered by these companies are not

identical, there is significant overlap in terms of their offerings. In particular, Merck and GSK

sell pediatric vaccines for five of the same conditions (Hepatitis B, Hib, rotavirus, MMR, and

Hepatitis A); Sanofi sells pediatric vaccines for two of the same conditions as both Merck and

GSK (Hepatitis B and HIB), and additional vaccines for four of the same conditions as GSK

(DTap, Tdap, Polio, and Meningitis). Id. All of these vaccines are included in the American

Academy of Pediatrics’ recommended vaccine schedule for infants and young children, which

pediatric clinics follow to provide essential vaccines to their patients. Id. ¶ 22.

       The Complaint alleges that the sale of rotavirus vaccines in the United States is a relevant

product market that contains all vaccines that inoculate against rotavirus. Id. ¶¶ 40−41.

Although the Complaint also alleges that pediatric vaccines are sold separately to the public and

private sectors, the conduct alleged in the Complaint pertains solely to the private sector. See

id. ¶¶ 24−25. The Complaint does not include allegations specifying the size of the private

sector as compared to the overall alleged market, nor does the Complaint otherwise attempt to


1
 Novartis and Moderna each sell one type of vaccine, for Meningitis and Covid-19, respectively.
Compl. ¶ 38 & n.2.
2
 GSK also sells a combination vaccine for adults that inoculates against Hepatitis A and B, and
Pfizer also sells COVID-19 vaccines. Id. ¶ 38 n.2.



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reconcile the difference in scope between its alleged market and the alleged conduct. Although

Merck’s conduct allegedly foreclosed competition in “greater than 40% of the relevant market,”

there are no allegations about the amount of alleged foreclosure in the private sector. Id. ¶ 142.

       B. Merck’s Established History Selling a Superior Rotavirus Vaccine

       Rotavirus is the leading cause of severe acute gastroenteritis among infants and young

children worldwide. Id. ¶ 27. Before rotavirus vaccines were prevalent, rotavirus disease was a

common and serious health problem for children in the United States. Id. After Wyeth

Pharmaceuticals removed the first rotavirus vaccine in the United States from the market for

safety concerns in 1999, Merck accelerated its testing of its rotavirus vaccine, and in February

2006, received approval from the FDA to market its product, RotaTeq, in the United States.

Id. ¶ 30. RotaTeq was the only rotavirus vaccine available in the United States until April 2008,

when GSK received FDA approval to market its product, Rotarix, and entered the market.

Id. ¶¶ 34, 43. Thus, for over two years before GSK even launched its product, RotaTeq was

routinely administered by pediatricians to infants and young children as part of a regular vaccine

schedule recommended by the CDC, creating a first mover advantage. Id. ¶¶ 30, 43.

       Rotarix comes as a powder that must be reconstituted before administration and fully

protects against only one strain of rotavirus. Id. ¶ 31. In contrast, Merck’s product, RotaTeq,

comes in a ready-to-use liquid and protects against five different strains of rotavirus. Id. ¶ 29.

Nothing prevents physicians from substituting Rotarix for RotaTeq. Id. ¶ 43.

       C. GSK’s Marketing Strategy for Rotarix

       Even though GSK launched years after Merck with a product that does not cover as many

strains as Merck’s product, GSK allegedly decided not to compete with Merck on price. Id.

¶¶ 144, 147, 154. The Complaint does not allege that Merck did anything to prevent GSK from

competing on price, only that GSK independently elected not to do so. It is no surprise,


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therefore, that GSK has never sold more than 32% of the rotavirus vaccines in the United States,

and its share of the sales has actually decreased over time, to 20% in 2022. Id. ¶ 47.

       The Complaint includes factual allegations regarding how Merck markets its vaccines,

including RotaTeq, but conspicuously avoids pleading any allegation as to how GSK markets its

ten pediatric vaccines, including Rotarix—much less whether GSK also allegedly offers bundled

discounts. For example, the Complaint fails to allege facts explaining why GSK could not

compete by offering discounts across all ten of its pediatric vaccines, including for the five

conditions where Merck also has vaccines and/or for the four conditions where Merck does not.

Ultimately, the Complaint offers no factual allegations that would permit the inference that

something other than GSK’s own unilateral business decisions, coupled with the superior

product attributes of RotaTeq, have resulted in GSK’s smaller share of the sales of rotavirus

vaccines.

       D. The Role of PBGs in Negotiating “Rock Bottom” Prices

       Plaintiff’s allegations regarding GSK’s marketing strategies for Rotarix are all the more

problematic given the Complaint’s extensive allegations about the role of the PBGs and similar

group purchasing organizations (“GPOs”) in the market. The Complaint alleges that most

physicians, physician practices, and hospitals purchase their vaccines pursuant to contracts

negotiated by PBGs or GPOs. Id. ¶ 25. The Complaint explains that PBGs negotiate with

manufacturers to receive “rock bottom prices” for their members on pediatric vaccines, including

vaccines purchased from Merck. Id. ¶¶ 125–37, 140. In fact, the Complaint alleges that PBG

members pay less under the discounts the PBGs obtain from the vaccine manufacturers than they

would by purchasing individual pediatric vaccines à la carte. Id. ¶¶ 122–23. The Complaint

makes no attempt to harmonize Plaintiff’s claim that Merck’s alleged bundled discounts caused




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higher prices for rotavirus vaccines with their allegation that vaccine purchasers received steep

discounts and paid “rock bottom” prices pursuant to PBG contracts.

       E. Plaintiff’s Alleged Role With Respect to Pediatric Vaccines

       The Complaint alleges that Plaintiff is “a municipality located in Baltimore” that

“purchased, paid, and/or provided reimbursement for some or all of the purchase price of

rotavirus vaccines . . . .” Id. ¶ 8. The Complaint does not explain how Plaintiff could have

purchased or paid for rotavirus vaccines in light of the allegation that “healthcare providers

purchase vaccines directly from manufacturers.” Id. ¶ 25. Thus, for example, the Complaint

does not allege that Plaintiff operates or funds any clinics or hospitals that administer rotavirus

vaccines to patients, or that it provided benefits cards to its members that could be used to

purchase pediatric vaccines from clinics. The Complaint also does not explain how, and to what

degree, Plaintiff provided reimbursement for rotavirus vaccine purchases by its members—an

important omission given that the Complaint expressly alleges that healthcare providers—not

patients—purchase rotavirus vaccines from manufacturers. Finally, the Complaint does not

allege that Plaintiff or its members purchased pediatric vaccines pursuant to the PBG contracts

that constitute Merck’s alleged anticompetitive conduct or pursuant to the different contracts and

parameters in the public sector. See id. ¶¶ 24−25.

       Plaintiff allegedly has members in Arizona, California, Connecticut, the District of

Columbia, Iowa, Idaho, Massachusetts, Maryland, Missouri, North Carolina, and New York.

Plaintiff does not allege that it has members in most of the jurisdictions under whose laws

Plaintiff asserts a claim: Florida, Hawaii, Illinois, Kansas, Maine, Michigan, Minnesota,

Mississippi, Montana, Nebraska, Nevada, New Hampshire, New Mexico, North Dakota, Oregon,

Puerto Rico, Rhode Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, West

Virginia, and Wisconsin. Id. ¶¶ 8, 223, 232−403.


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        F. Plaintiff’s Alleged Claims Against Merck

        Plaintiff alleges that Merck provides discounts to customers who purchase a minimum

percentage of their pediatric vaccines from Merck, for each pediatric vaccine that Merck sells

(including RotaTeq). Id. ¶ 118. Plaintiff alleges that a customer that does not meet the purchase

requirement for one Merck vaccine will be rendered ineligible for discounts on all of Merck’s

pediatric vaccines. Id.

        Based on this alleged conduct, Plaintiff asserts two claims under federal antitrust law for

declaratory and equitable relief for monopolization (under 15 U.S.C. §§ 2, 3(b)) and for

anticompetitive agreements in unreasonable restraint of trade (under 15 U.S.C. §§ 1, 3(a)).

Plaintiff also relies on these alleged facts to assert claims under the state antitrust laws of 27

jurisdictions and under the state consumer protection laws of 17 jurisdictions (covering 35

jurisdictions in total). Plaintiff seeks to represent a class of all third-party payors that indirectly

purchased, paid and/or reimbursed for some or all of the purchase price of RotaTeq from March

3, 2019 forward. As noted above, a putative class of direct purchaser plaintiffs filed an identical

lawsuit in April 2018. The three plaintiffs in that case were direct purchasers, alleging that they

purchased pediatric vaccines directly from Merck. The Third Circuit ordered plaintiffs in that

case to arbitrate their claims in March 2022. After being ordered to arbitrate their claims,

plaintiffs in that action voluntarily dismissed their claims. Plaintiff here—represented by the

same counsel as the counsel in the prior litigation—challenges the identical conduct challenged

in the 2018 case.3




3
 In the 2018 case, the Court issued a two-sentence denial of Merck’s motion to dismiss,
providing no guidance regarding the Court’s reasoning. See In Re Rotavirus Vaccines Antitrust
Litig., No. 18-cv-01734-GAM (E.D. Pa. Jan. 23, 2019), ECF No. 53, at 1 n.1.


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                                            ARGUMENT

        To survive a motion to dismiss under Rule 12(b)(6), the Complaint “must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007)). The plausibility standard requires the Complaint to indicate that liability is more

than “a sheer possibility,” and contain enough factual matter to “raise a reasonable expectation

that discovery will reveal evidence of” those elements. Iqbal, 556 at 678; Phillips v. Cnty. of

Allegheny, 515 F.3d 224, 234 (3d Cir. 2008) (quoting Twombly, 550 U.S. at 545). “[B]ald

assertions,” “conclusory or bare-bones allegations,” and legal conclusions are not accepted as

true. Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997); Fowler v. UPMC

Shadyside, 578 F.3d 203, 210–11 (3d Cir. 2009) (internal formatting omitted). Plaintiff cannot

meet these standards for the reasons discussed below.

I. THE FEDERAL CLAIMS SHOULD BE DISMISSED

        The Complaint does not allege that Merck’s actions harmed competition or injured

Plaintiff, and thus Plaintiff cannot meet its burden to plead antitrust injury. Plaintiff also cannot

meet its burden to plead “substantial foreclosure,” as required for a federal antitrust claim based

on alleged exclusionary conduct. And Plaintiff has not pled that it lacks an adequate remedy at

law, as required to permit its request for injunctive relief arising from its federal antitrust claims

to proceed past the pleading stage. These deficiencies each independently require dismissal of

Plaintiff’s federal antitrust claims.4




4
  Because the same law applies to the Section 1 claim and Section 2 claim, Plaintiff’s Section 1
claim fails for the same reasons its Section 2 claim fails. See Eisai, Inc. v. Sanofi Aventis U.S.,
LLC, 821 F.3d 394, 402 (3d Cir. 2016) (“[t]he applicable law is the same” for challenges to
bundled rebates under Section 1 and Section 2).


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       A. The Complaint Does Not Allege That Plaintiff Suffered Antitrust Injury.

       Plaintiff must allege that it suffered antitrust injury to adequately plead an antitrust claim.

Antitrust injury requires Plaintiff to prove that: (1) Merck’s alleged conduct harmed competition;

and (2) Plaintiff experienced an injury attributable to a competition-reducing aspect of Merck’s

alleged conduct. See, e.g., Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 488−89

(1977) (antitrust law protects competition, not competitors; antitrust injury is “injury of the type

the antitrust laws were intended to prevent and that flows from that which makes the defendants’

acts unlawful”); Steamfitters Loc. Union No. 420 Welfare Fund v. Philip Morris, Inc., 171 F.3d

912, 924 n.6 (3d Cir. 1999) (plaintiff must show “an injury to the plaintiff which flows from that

which makes defendant’s acts unlawful” in order to establish antitrust standing) (internal

quotation omitted). Plaintiff has failed to satisfy both prongs of antitrust injury.

               1. The Complaint Does Not Allege that Merck’s Conduct Harmed
                  Competition.

       Under Third Circuit precedent, bundled rebates may harm competition when they

“foreclose portions of the market to a potential competitor who does not manufacture an equally

diverse group of products and who therefore cannot make a comparable offer.” LePage’s Inc. v.

3M, 324 F.3d 141, 155 (3d Cir. 2003). The Third Circuit subsequently has limited LePage’s to

cases in which a single product producer is excluded through a bundled rebate program offered

by a producer of multiple products. See ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 274 n.11

(3d Cir. 2012) (“[t]he reasoning of LePage’s is limited to cases in which a single-product

producer is excluded through a bundled rebate program offered by a producer of multiple

products”); see also Eisai, Inc. v. Sanofi Aventis U.S., LLC, 821 F.3d 394, 405 n.35 (3d Cir.

2016) (collecting authorities criticizing LePage’s). Thus, the Third Circuit has rejected

challenges to bundled rebates where a plaintiff could not show that an equally efficient



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competitor was unable to compete. See Eisai, 821 F.3d at 406 (“nothing in the record indicates

that an equally efficient competitor was unable to compete with Sanofi”).

       These decisions are consistent with well-established precedent that discounts—including

bundled discounts—are generally procompetitive and benefit consumers. See, e.g., Brooke Grp.

Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 223 (1993) (“Low prices benefit

consumers regardless of how those prices are set.”) (quoting Atl. Richfield Co. v. USA Petroleum

Co., 495 U.S. 328, 340 (1990)); Cascade Health Sols. v. PeaceHealth, 515 F.3d 883, 894 (9th

Cir. 2008) (listing common, procompetitive uses of bundled discounts). Bundled offerings are

often appealing to consumers and may reflect “an attempt to compete effectively—conduct that

is entirely consistent with the Sherman Act.” See Jefferson Par. Hosp. Dist. No. 2. v. Hyde, 466

U.S. 2, 12 (1984). Thus, bundled discounts “generally benefit buyers” because they allow

buyers to obtain more product at a lower cost, to save on distribution and consumer transaction

costs, and to capitalize on certain economies of scope. PeaceHealth, 515 F.3d at 894−95; see

also It’s My Party, Inc. v. Live Nation, Inc., 811 F.3d 676, 688 (4th Cir. 2016) (describing the

value of offering “package sales” of multiple goods, “conduct that is entirely consistent with the

Sherman Act”) (quoting Jefferson Par. Hosp. Dist. No. 2., 466 U.S. at 12).

       Plaintiff does not allege harm to competition consistent with these precedents. Critically,

the Complaint does not allege that GSK is an equally efficient, single-product supplier that is

unable to compete against Merck’s product line. To the contrary, GSK allegedly offers more

pediatric vaccines than Merck, including for four conditions for which Merck does not sell a

vaccine. Compl. ¶ 38. Because GSK’s additional pediatric vaccines are also included in the

American Academy of Pediatrics’ recommended vaccine schedule for young children, pediatric

clinics cannot simply purchase Merck’s vaccines and forego purchasing the vaccines that Merck




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does not sell. Id. ¶ 23. And GSK offers pediatric vaccines that treat five of the same conditions

as pediatric vaccines offered by Merck, meaning that there is direct overlap between GSK and

Merck on roughly half of Merck’s pediatric vaccine product line. See id. ¶ 38. The situation

alleged in the Complaint, therefore, bears no resemblance to that at issue in LePage’s, where a

single-product producer (LePage’s) was unable to compete against a supplier with a diverse

product line (3M). See LePage’s, 324 F.3d at 156. Instead, the facts alleged resemble those at

issue in Eisai, where plaintiff was unable to show that an equally efficient competitor could not

compete against the defendant, and so could not establish that defendant’s conduct harmed

competition. See Eisai, 821 F.3d at 403, 406.

       Tellingly, the Complaint does not allege that GSK is unable to offer a comparable bundle

to compete with Merck. The Complaint is entirely silent on how GSK markets its vaccines,

including its rotavirus vaccine—whether as part of a bundled rebate offer covering some or all of

its pediatric vaccines or individually with à la carte pricing only. These omissions are fatal to the

Complaint. See Shire US, Inc. v. Allergan, Inc., 375 F. Supp. 3d 538, 557 (D.N.J. 2019)

(dismissing complaint where plaintiff did not assert that it did not have other available products

to bundle); see also Aerotec Int’l v. Honeywell Int’l, Inc., 836 F.3d 1171, 1186–87 (9th Cir.

2016) (“the fact that the bundling competitor has exclusive capacity to ‘bundle’ multiple

products and absorb the cost of the total discount” is what gives rise to the possibility that it

could force an equally efficient competitor out of the market).5 Indeed, courts have held that



5
  Similarly, the court in Pfizer, Inc. v. Johnson & Johnson held that J&J’s multi-product bundles
did not give rise to antitrust concern because “Pfizer has not alleged any facts suggesting that J &
J is hindering [Pfizer’s] ability to compete with J & J’s multi-product bundles by offering their
own multi-product bundles.” 333 F. Supp. 3d 494, 504 (E.D. Pa. 2018). The court thus only
permitted the claims to proceed because Pfizer alleged other conduct beyond simply a challenge
to a multi-product bundle. Here, Plaintiff only brings a challenge to Merck’s multi-product
bundle.


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there is no harm to competition where a party can offer its own competing bundle. See, e.g.,

Invacare Corp. v. Respironics, Inc., No. 1:04 CV 1580, 2006 WL 3022968, at *12 (N.D. Ohio

Oct. 23, 2006) (defendant’s bundle did not harm competition because “plaintiff can sell a similar

bundle”; “plaintiff does not cite any case in which a court has found a bundling practice

anticompetitive” where plaintiff could sell a similar bundle); see also Suture Express, Inc. v.

Owens & Minor Distrib., Inc., 851 F.3d 1029, 1041 (10th Cir. 2017) (affirming summary

judgment for defendant on challenge to bundling packages; “since [competitors] also offered

similar bundling packages, competition was not excluded in the tied market, either: it simply

took the form of bundle-to-bundle competition”).

       Plaintiff, therefore, fails to allege that Merck’s conduct harmed competition, requiring

dismissal of all of Plaintiff’s federal and state law claims on this ground alone. See Phila. Taxi

Ass’n v. Uber Techs., Inc., 886 F.3d 332, 344 (3d Cir. 2018) (affirming complaint’s dismissal for

failing to allege “negative impact on consumers or to competition in general”); City of Pittsburgh

v. West Penn Power Co., 147 F.3d 256, 266–67 (3d Cir. 1998) (affirming dismissal of complaint:

“because neither the agreement nor the proposed merger had brought about the lessening of

competition . . ., there was no antitrust injury”); Cable Line, Inc. v. Comcast Cable Commc’ns of

Pa., Inc., No. 16-CV-1000, 2018 WL 2209518, at *9−10 (M.D. Pa. May 14, 2018) (dismissing

complaint for failure to plead harm to competition); SEI Glob. Servs., Inc. v. SS&C Advent, 496

F. Supp. 3d 883, 901–02 (E.D. Pa. 2020) (dismissing complaint for not alleging harm to

consumers or to competition in general).

               2. The Complaint Does Not Allege that Plaintiff Suffered Injury Flowing
                  From An Anticompetitive Aspect of Merck’s Alleged Conduct.

       Plaintiff’s Complaint must also offer well-pleaded allegations as to how Plaintiff—not

some other entity—suffered antitrust injury as a result of Merck’s pediatric vaccine contracts



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with PBGs. Yet, Plaintiff fails to allege how it was harmed by Merck’s conduct at all, much less

by an anticompetitive aspect of that alleged conduct, for two reasons.

        First, Plaintiff does not adequately allege that it directly or indirectly paid for Merck’s

pediatric vaccines. The entirety of Plaintiff’s allegation concerning its connection to RotaTeq is

Plaintiff’s vague assertion that it “purchase[d], pa[id] for, and/or reimburse[d]” its members for

“some or all” of the purchase price of RotaTeq. See Compl. ¶ 26. That cursory allegation does

not suffice to plead antitrust injury, particularly in light of the contradictory allegation that

healthcare providers—not patients and not local governments—purchase pediatric vaccines. The

Complaint thus contains no well-pleaded facts as to how Plaintiff could have purchased or paid

for those vaccines itself, since Plaintiff does not allege that it operates healthcare facilities or

otherwise would be in a position to purchase vaccines from Merck.

        The Complaint also does not allege any information about the mechanism through which

Plaintiff purportedly “reimburses” for pediatric vaccines, an omission that is particularly

problematic given that there is nothing obvious on the face of the Complaint about Plaintiff’s

role in the reimbursement process for pediatric vaccines. Id. ¶¶ 8, 26. For example, the

Complaint lacks any allegation that Plaintiff reimbursed more for prescriptions of RotaTeq as

compared to Rotarix or the number of units and the dollar amount Plaintiff reimbursed. Indeed,

Plaintiff does not even provide details on how it, a Maryland municipality, could have members

across twelve different states like Arizona and California, let alone whether those members in

fact purchased RotaTeq and sought reimbursement from Plaintiff. Given these contradictions

and the lack of any allegations endeavoring to resolve them, Plaintiff’s threadbare allegation of

purchases or payments relating to its members’ alleged purchases of RotaTeq does not suffice to

adequately allege antitrust injury. See Twombly, 550 U.S. at 570; Reveal Chat Holdco, LLC v.




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Facebook, Inc., 471 F. Supp. 3d 981, 998 (N.D. Cal. 2020) (finding plaintiff failed to allege

antitrust injury based on “nothing more than conclusory allegations”).

       Second, Plaintiff does not adequately allege that Merck’s bundled discounts caused it to

pay higher prices for RotaTeq. Because Plaintiff is forced to concede that physicians received

the “highest discounts” or “rock bottom” prices on the pediatric vaccines they purchased from

Merck, Compl. ¶¶ 135, 140, Plaintiff relies on an academic theory promulgated by a law

professor—not an economist or statistician—that bundled discounts can have the economic

effect of segmenting consumer demand in ways that can ultimately result in “harm to

purchasers,” see id. ¶¶ 152–154, 152 n.24. The Third Circuit has referred to similar theories

promulgated by that professor as “novel” and “unsupported,” and found them insufficient to

establish harm to competition. See Eisai, 821 F.3d at 406. That professor’s theories here,

therefore, do not suffice to meet Plaintiff’s burden to plead sufficient facts to support the

inference that Plaintiff paid more than it would have absent the alleged conduct. The only other

allegation Plaintiff offers is that “healthcare providers paid substantially more for both RotaTeq

and Rotarix than they otherwise would have. They then passed those increased prices on to

patients and third-party payors who cover all or part of the cost of vaccines for their members.”

Compl. ¶ 150; see also id. at ¶¶ 158−59 (“[A]ny overcharge at a higher level of distribution

generally results in higher prices at every level below.”). Such allegations on their face contain

no well-pleaded facts, let alone any facts that would allow the Court to divine the specifics of

how exactly Plaintiff reimbursed more for RotaTeq and Rotarix than it otherwise would have,

and are therefore nothing more than conclusory, threadbare assertions that courts routinely

discount on a motion to dismiss. See In re Seroquel XR (Extended Release Quetiapine

Fumarate) Antitrust Litig., No. 20-1076-CFC, 2022 WL 2438934, at *14 (D. Del. July 5, 2022)




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(dismissing antitrust injury claims where plaintiffs “allege[d] no facts in support of these

conclusory allegations”); Warfield Phila., L.P. v. Nat’l Passenger R.R. Corp., No. CIV.A. 09-

1002, 2009 WL 4043112, at *5 (E.D. Pa. Nov. 20, 2009) (dismissing complaint for failure to

allege antitrust injury: “Applying the Supreme Court’s teachings in Iqbal and Twombly, we agree

that plaintiff’s rhetorical averments will not suffice to support a claim that defendants have

caused injury . . . to competition in a cognizably relevant market.”) (internal formatting omitted).

See also W. Penn Power Co., 147 F.3d at 265 (affirming dismissal of antitrust complaint for

failure to allege antitrust injury).

        B. The Complaint Does Not Include Factual Allegations Supporting Substantial
           Foreclosure.

        The Complaint does not meet Plaintiff’s burden under Third Circuit precedent to plead

facts sufficient to show that Merck’s conduct resulted in substantial foreclosure of a relevant

antitrust market. See LePage’s, 324 F.3d at 156 (“The principal anticompetitive effect of

bundled rebates . . . is that they may foreclose portions of the market to a potential

competitor . . . .”).

        The conclusory allegation that Merck’s conduct resulted in a foreclosure of “at least

40%” of Plaintiff’s alleged relevant market, Compl. ¶¶ 5, 116, 142, 149, without more, fails to

satisfy Plaintiff’s pleading burden. See Iqbal, 556 U.S. at 678 (claims are plausible when

supported by adequate factual allegations); Santiago v. Warminster Twp., 629 F.3d 121, 128 (3d

Cir. 2010) (“we disregard legal conclusions and recitals of the elements of a cause of action,

supported by mere conclusory statements”) (internal formatting omitted). In fact, according to

the Complaint, even though its rotavirus vaccine launched years after Merck’s product, GSK has

allegedly secured a roughly 30% share in the purportedly foreclosed market and is able to

compete for 60% of that alleged market. Compl. ¶¶ 47, 116.



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       Plaintiff’s lack of substantive allegations regarding substantial foreclosure is particularly

problematic given Plaintiff’s alleged relevant market pertaining to rotavirus vaccines, i.e., “the

sale of rotavirus vaccines in the United States.” Id. ¶ 40.6 Although Plaintiff’s alleged market

seemingly would encompass both public and private sector rotavirus vaccine sales, Plaintiff

alleges that pediatric vaccines are sold separately, and under different terms, to the public and

private sector. Id. ¶ 24. Further, the conduct Plaintiff challenges relates solely to Merck’s

contracts governing the sale of rotavirus vaccines under PBG or GPO contracts—i.e., contracts

applicable to private sector purchases only, not the entire alleged relevant product market.

Id. ¶ 25. The Complaint includes no allegations regarding the share of Plaintiff’s alleged

relevant product market that is comprised of private sector sales, or the share of private sector

sales that are governed by PBG or GPO contracts.

       Plaintiff’s allegations fall well short of establishing substantial foreclosure of Plaintiff’s

alleged relevant market. Courts have rejected substantial foreclosure claims where the

foreclosure only covers a certain segment of the alleged product market. See Kolon Indus. Inc. v.

E.I. DuPont de Nemours & Co., 748 F.3d 160, 175 (4th Cir. 2014) (plaintiff failed to show

substantial foreclosure where plaintiff did not sufficiently quantify foreclosure of entire relevant

market, and instead only had evidence about particular market segments); Chase Mfg v. Johns

Manville Corp., No. 19-cv-00872-MEH, 2019 WL 2866700, at *7 (D. Colo. July 3, 2019)

(dismissing exclusive dealing claim because, even though the product was “sold all over the

United States,” complaint did not include allegations about the degree of foreclosure of the




6
  While Merck treats Plaintiff’s market definition allegations as true for purposes of this Motion
to Dismiss (as required under Fed. R. Civ. P. 12(b)(6)), Merck is not waiving its right to
challenge Plaintiff’s alleged relevant market at a later stage if the Court does not dismiss the
Complaint with prejudice at the pleading stage.


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“certain markets” in which plaintiff had allegedly been foreclosed). Plaintiff’s lack of

allegations reconciling the scope of the alleged conduct and Plaintiff’s alleged relevant market

further underscores that this Court should not credit Plaintiff’s conclusory allegation that

Merck’s conduct foreclosed “40% or more” of Plaintiff’s alleged relevant market.

       Finally, even if the court were to credit Plaintiff’s conclusory foreclosure assertion, courts

confronted with such low alleged foreclosure percentages do not rely on foreclosure alone to

conclude that defendant’s conduct resulted in anticompetitive effects. Instead, courts also

examine other factors, such as the ability to switch between products, the exclusion of equally

efficient competitors, and the ability to reach customers to determine whether a defendant’s

conduct harmed competition. See Eisai, 821 F.3d at 403−04, 406 (evaluating ability to switch to

other products and whether equally efficient competitors were excluded where plaintiff’s expert

claimed 68% to 84% foreclosure); Mylan Pharms., Inc. v. Warner Chilcott Public Ltd. Co., Civ.

No. 12-3824, 2015 WL 1736957, at *14 (E.D. Pa. Apr. 16, 2015) (analyzing ability to reach

consumers), aff’d, 838 F.3d 421 (3d Cir. 2016); Race Tires Am., Inc. v. Hoosier Racing Tire

Corp, 614 F.3d 57, 69, 78–79 (3d Cir. 2010) (evaluating coercion where plaintiff alleged

“approximately 50%” foreclosure); see also Tampa Elec. Co. v. Nashville Coal Co., 365 U.S.

320, 329 (1961) (necessary to weigh the probable effect of the contract on the relevant area of

effective competition, taking into account the relative strength of the parties, the proportionate

volume of commerce involved in relation to the total volume of commerce in the relevant market

area, and the probable immediate and future effects on competition); R.J. Reynolds Tobacco Co.

v. Philip Morris Inc., 199 F. Supp. 2d 362, 389 (M.D.N.C. 2002) (noting that, in addition to

foreclosure percentage, courts consider factors such as “the duration of the agreement, barriers to

entry, the ability of consumers to comparison shop, and their propensity to switch products”).




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The Complaint lacks any allegations regarding these additional factors, further underscoring

Plaintiff’s failure to allege that Merck’s allegedly exclusionary conduct harmed competition.

       C. The Complaint Does Not Plead That Plaintiff Lacks an Adequate Remedy at
          Law.

       Because Plaintiff is not a direct purchaser of rotavirus vaccines, Plaintiff cannot seek

damages for its federal antitrust claims. Plaintiff instead seeks injunctive relief pursuant to its

federal antitrust claims, Compl. ¶¶ 194, 206, but that request must be dismissed because Plaintiff

has not met its burden to plead that it lacks an adequate remedy at law. It is black-letter law that

a party is entitled to equitable relief only if it lacks an adequate remedy at law. O’Shea v.

Littleton, 414 U.S. 488, 502 (1974) (the “basic requisite[] [for] the issuance of equitable relief”

from a federal court is “the inadequacy of remedies at law”). But, nowhere in the Complaint

does Plaintiff assert this, even in conclusory fashion, much less with facts or reasons why it lacks

an adequate remedy at law. Nor could it, since Plaintiff seeks money damages for each of its

state law claims. See Raitport v. General Motors Corp., 366 F. Supp. 328, 330 (E.D. Pa. 1973)

(“The traditional principles of equity jurisprudence apply in antitrust cases. One of those salutary

rules is that no preliminary injunction can issue where the plaintiff has or may have an adequate

remedy at law for damages.”) (internal citation omitted); Goadby v. Phila. Elec. Co., 639 F.2d

117, 122 (3d. Cir. 1981) (“[I]f an adequate remedy at law exists, equitable relief will not be

granted.”). Courts do not hesitate to dismiss at the pleading stage requests for injunctive relief

arising from antitrust claims when the plaintiff fails to allege that it does not have an adequate

remedy at law. See, e.g., Reilly v. Apple, Inc., 578 F. Supp. 3d 1098, 1112 (N.D. Cal. 2022)

(dismissing request for injunctive relief because complaint “merely asserts that [plaintiff] lacks

adequate remedies at law, but fails to allege facts or reasons why that is the case”) (citation

omitted).



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II. THE STATE LAW CLAIMS SHOULD BE DISMISSED

        Plaintiff’s state law claims suffer from a multitude of deficiencies. As an initial matter,

the state law antitrust and consumer protection claims suffer from the same deficiencies as the

federal claims and should be dismissed for the same reasons. See In re Tamoxifen Citrate

Antitrust Litig., 277 F. Supp. 2d 121, 139 (E.D.N.Y. 2003), aff’d, 466 F.3d 187 (2d Cir. 2006)

(“[S]ince Plaintiffs fail to state a claim under the Sherman Act, and since the state antitrust law

claims are based on the same allegations, those claims are also dismissed.”); In re Opana ER

Antitrust Litig., 162 F. Supp. 3d 704, 726 (N.D. Ill. 2016) (dismissing all state consumer

protection claims where plaintiffs “have pleaded antitrust claims and the factual foundation for

them, and have merely alleged that those claims are also actionable under state consumer

protection laws”); see also In re Humira (Adalimumab) Antitrust Litig., 465 F. Supp. 3d 811, 847

(N.D. Ill. 2020) (noting that the parties agree that if plaintiffs’ federal antitrust claims are

dismissed, antitrust claims brought under state antitrust laws and state consumer protection

statutes should also be dismissed).7



7
  See also In re Pool Prods. Distrib. Mkt. Antitrust Litig., MDL No. 2328, 2016 WL 1722090, at
*4 (E.D. La. Apr. 29, 2016) (dismissing claims under Arizona and California’s antitrust statutes
where they “suffer from the same deficiencies [and] legal insufficienc[ies] as [Plaintiffs’]
Sherman Act claims”) (internal citation omitted); Lima LS PLC v. PHL Variable Ins. Co., No.
3:12-cv-1122 (WWE), 2013 WL 3327038, at *4 (D. Conn. July 1, 2013) (Conn. Gen. Stat. § 35-
28 codifies federal case law relevant to Sherman Act Section 1, and Conn. Gen. Stat. § 35-27 is
patterned after Sherman Act Section 2); Sun Dun, Inc. of Wash. v. Coca-Cola Co., 740 F. Supp.
381, 395 (D. Md. 1990) (D.C.’s antitrust statute is substantively the same as the Sherman Act);
VBR Tours, LLC v. Nat’l R.R. Passenger Corp., No. 14-cv-00804, 2015 WL 5693735, at *16
(N.D. Ill. Sept. 28, 2015) (“Illinois Antitrust Act claims ‘will stand or fall’ with federal . . .
claims based on the same underlying facts and legal theories.”) (citation omitted); Next
Generation Realty, Inc. v. Iowa Realty Co., 686 N.W.2d 206, 208 (Iowa 2004) (“In adopting
Iowa Code chapter 553, the legislature left us without authority to innovate from the federal
courts’ understanding of federal antitrust law”); EuroTec Vertical Flight Sols., LLC v. Safran
Helicopter Engines S.A.A., No. 3:15-CV-3454-S, 2019 WL 3503240, at *19 (N.D. Tex. Aug. 1,
2019) ( “The same analysis conducted in conjunction with Plaintiff’s Sherman Act claims
governs Plaintiff’s Cartwright Act and Kansas Restraint of Trade Act claims”); Int’l Ass’n of


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Machinists and Aerospace Workers, AFL-CIO, Loc. Lodge No. 1821 v. Verso Paper Corp., 80 F.
Supp. 3d 247, 265 (D. Me. 2015) (Maine courts and federal courts have consistently construed
Maine’s antitrust statute in accordance with federal law); Krause Marine Towing Corp. v. Ass’n
of Md. Pilots, 44 A.3d 1043, 1052 (Md. Ct. Spec. App. 2012) (Maryland’s Antitrust Act is
essentially the same as Sherman Act § 1); Am. Council of Certified Podiatric Physicians &
Surgeons v. Am. Bd. of Podiatric Surgery, Inc., 323 F.3d 366, 368 n.1 (6th Cir. 2003) (applying
the same analysis to claims under the Michigan Antitrust Statute and the Sherman Act because
the two statutes mirror each other); Inline Packaging, LLC v. Graphic Packaging Int’l, LLC, 351
F. Supp. 3d 1187, 1202 (D. Minn. 2018), aff’d, 962 F.3d 1015 (8th Cir. 2020) (“Minnesota anti-
trust law is interpreted consistent with the federal court’s construction of the Sherman Act.”)
(internal formatting omitted); Waggoner v. Denbury Onshore, LLC, 612 F. Appx. 734, 736 n.2
(5th Cir. 2015) (“Mississippi antitrust claims are ‘analytically identical’ to federal antitrust
claims”) (internal citation omitted); McDonald Apiary, LLC v. Starrh Bees, Inc., No. 8:14-CV-
351, 2015 WL 11108873, at *6 n.4 (D. Neb. May 22, 2015) (Nebraska’s Junkin Act should be
construed the same as the Sherman Act); A.V.E.L.A., Inc. v. Est. of Marilyn Monroe, LLC, 241 F.
Supp. 3d 461, 489 (S.D.N.Y. 2017) (“An antitrust claim that fails under the Sherman Act also
fails under the NUPTA.”); Kenneth E. Curran, Inc. v. Auclair Transp., Inc., 519 A.2d 280, 284
(N.H. 1986) (interpretations of New Hampshire’s antitrust statute should be “guided by
interpretations of the United States’ antitrust laws”); Galarza-Rios v. Optumcare N.M., LLC, No.
1:20-cv-00813 MIS/GBW, 2023 WL 131057, at *3 (D.N.M. Jan. 9, 2023) (“Courts construe the
[New Mexico Antitrust Act] in harmony with federal antitrust law.”); Gatt Commc’ns, Inc. v.
PMC Assocs., L.L.C., 711 F.3d 68, 81 (2d Cir. 2013) (Donnelly Act generally construed in light
of federal precedent); Sandoz Inc. v. United Therapeutics Corp., No. 2:19-cv-10170 (BRM)
(JSA), 2022 WL 17335696, at *18 (D.N.J. Mar. 30, 2022) (dismissing claim under N.C. Gen.
Stat. § 75-1.1 for the same reason federal antitrust claims failed); In re Namenda Indirect
Purchaser Antitrust Litig., 338 F.R.D. 527, 572 (S.D.N.Y. 2021) (North Dakota’s antitrust
statute is interpreted the same as the Sherman Act); Patterson Dental Co. v. McGaughey, Civil
Nos. 85-469-PA, 85-470-PA, 1985 WL 25732, at *2 (D. Or. Dec. 9, 1985) (“[T]he decisions of
federal courts construing federal antitrust laws are persuasive authority in interpreting Oregon’s
antitrust laws.”); R.W. Int’l Corp. v. Welch Food, Inc., 13 F.3d 478, 489 (1st Cir. 1994)
(dismissing claims under Puerto Rico’s antitrust law where they failed under federal law); Rhode
Island Laborers’ Health & Welfare Fund ex rel. Trustees v. Philip Morris, Inc., 99 F. Supp. 2d
174, 184 (D.R.I. 2000) (court applied a “unified analysis to federal and state antitrust claims”
guided by federal law); Assam Drug Co., Inc. v. Miller Brewing Co., 798 F.2d 311, 313–14 (8th
Cir. 1986) (“[T]he South Dakota Supreme Court has stated that in construing the state law ‘great
weight should be given to the federal cases interpreting the federal statute.’”) (internal citation
omitted); Bennett v. Wal-Mart Stores, Inc., No. 06-CV-5304 (JG)(JO), 2011 WL 3878330, at *7
(E.D.N.Y. Sept. 2, 2011) (dismissing claim under TTPA that failed under Sherman Act); Allergy
Research Group LLC v. Rez Candles Inc., No. 221-cv-73-TC-JCB, 2022 WL 1004214, at *9 (D.
Utah Apr. 4, 2022) (dismissing claims under Utah’s state antitrust law where claims under
federal antitrust law failed); St. Mary’s Med. Ctr., Inc. v. Steel of W. Va., Inc., 809 S.E.2d 708,
714 (2018) (“Pursuant to W.Va. Code, 47-18-16 [1978], the Antitrust Act ‘shall be construed
liberally and in harmony with ruling judicial interpretations of comparable federal antitrust
statutes.’”) (citing W.Va. Code, 47-18-16 (1978)); Epic Sys. Corp. v. Tata Consultancy Servs.


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        The state law claims are defective for several additional reasons discussed below (and

summarized in Appendix 1). In particular, Plaintiff lacks standing to bring claims under the laws

of 24 of the 35 jurisdictions where it purports to bring state law claims, and all of Plaintiff’s state

law claims rest on threadbare recitations that do not suffice to meet Plaintiff’s burden under Rule

12(b)(6).

        A. The Complaint Does Not Sufficiently Allege that Plaintiff has Standing to Bring
           Most of its State Law Claims.

        The Complaint pleads causes of action under the laws of 33 different states, the District

of Columbia, and Puerto Rico. Plaintiff lacks standing to bring claims in 24 of these

jurisdictions because it does not reside in, or pay for or reimburse purchases in, those

jurisdictions.

        “[A] plaintiff who raises multiple causes of action ‘must demonstrate standing for each

claim he seeks to press.’” In re Schering Plough Corp. Intron/Temodar Consumer Class Action,

678 F.3d 235, 245 (3d Cir. 2012) (quoting DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352

(2006)). This requirement does not change in the context of a putative class action, as Plaintiff

seeks to bring here. Plaintiff “must allege and show that they personally have been injured, not

that injury has been suffered by other, unidentified members of the class to which they belong

and which they purport to represent.” Warth v. Seldin, 422 U.S. 490, 502 (1975). See also, e.g.,

Klein v. Gen. Nutrition Cos., 186 F.3d 338, 345 (3d Cir. 1999) (quoting Lewis v. Casey, 518 U.S.

343, 357 (1996)); In re Niaspan Antitrust Litig., 42 F. Supp. 3d 735, 758 (E.D. Pa. 2014) (“To

establish Article III standing, the named plaintiffs in a putative class action ‘must allege and

show that they personally have been injured.’”) (quoting Klein v. Gen. Nutrition Cos., 186 F.3d



Ltd., No. 14-cv-748-wmc, 2017 WL 4386456, at *3 n.2 (W.D. Wis. Sept. 29, 2017)
(“[Plaintiff’s] Wisconsin antitrust claims rise and fall with [Plaintiff’s] federal claims.”).


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at 345). That is because, “to be a class representative on a particular claim, the plaintiff must

himself have a cause of action on that claim.” Zimmerman v. HBO Affiliate Grp., 834 F.2d 1163,

1169 (3d Cir. 1987).

        It follows that Plaintiff only has standing to bring claims under the laws of a particular

jurisdiction if it resides in that jurisdiction, or if it purchased or reimbursed its members for

purchases within that jurisdiction. See, e.g., In re Niaspan Antitrust Litig., 42 F. Supp. 3d at 758

(“[T]he named plaintiffs may bring suit only under the laws of states in which they reside or in

which they either purchased or made reimbursements for [the drug].”); In re Flonase Antitrust

Litig., 692 F. Supp. 2d 524, 533 (E.D. Pa. 2010) (“Case law supports the position that Plaintiffs

have suffered injury and have standing in states where they purchased a drug or reimbursed their

members for purchases of a drug.”); Plumbers’ Loc. Union No. 690 Health Plan v. Apotex Corp.,

No. 16-cv-665, 2017 WL 4235773, at *13 (E.D. Pa. Sept. 25, 2017) (“Courts in this district have

repeatedly held . . . that plaintiffs lack standing, because they suffered no injury, to raise state

law claims for states where they are not located and where they did not purchase any drugs or

reimburse their members for the purchase of any drugs.”); In re Suboxone (Buprenorphine

Hydrochloride & Naloxone) Antitrust Litig., 64 F. Supp. 3d 665, 691–94 (E.D. Pa. 2014)

(“Suboxone”) (benefit funds could assert claims only under the laws of states where they were

incorporated or where their members had purchased Suboxone); In re Wellbutrin XL Antitrust

Litig., 260 F.R.D. 143, 156–58 (E.D. Pa. 2009) (benefit funds could assert claims only under the

laws of states where they were located or where their members had purchased Wellbutrin).8



8
  See also In re Insulin Pricing Litig., No. 17-cv-0699-BRM-LHG, 2019 WL 643709, at *17
(D.N.J. Feb. 15, 2019) (“[D]istrict courts within the Third Circuit and throughout the nation have
held that named plaintiffs in a class action lack standing to bring claims on behalf of putative
classes under the laws of states where no named plaintiff is located and where no named plaintiff
purchased the product at issue.”) (internal quotation omitted); In re Ductile Iron Pipe Fittings


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Plaintiff thus cannot bring claims in jurisdictions where it does not allege that it purchased, paid

for, or reimbursed purchases.9

       Plaintiff is allegedly located in Baltimore, Maryland, and it allegedly purchased, paid for,

or reimbursed RotaTeq purchases by its members in only 11 jurisdictions: Arizona, California,

Connecticut, the District of Columbia, Iowa, Idaho, Massachusetts, Maryland, Missouri, North

Carolina, and New York. Compl. ¶ 8. Plaintiff has not alleged that it conducted business in any

other jurisdiction or suffered any injury in any other jurisdiction. Because Plaintiff does not

allege such facts, Plaintiff has not alleged that it has standing to assert claims based on the laws

of the remaining 24 jurisdictions, and claims under the laws of these 24 jurisdictions must be

dismissed.

       Even for the 11 jurisdictions where Plaintiff has members, the Complaint provides

nothing more than conclusory allegations to demonstrate that it has purchased, paid, and/or

provided reimbursement in Arizona, California, Connecticut, the District of Columbia, Iowa,

Idaho, Massachusetts, Missouri, North Carolina, and New York. Id. ¶ 8. The Complaint lacks


(DIPF) Indirect Purchaser Antitrust Litig., No. 12-cv-169, 2013 WL 5503308, at *11 (D.N.J.
Oct. 2, 2013) (“[T]his Court agrees that named plaintiffs lack standing to assert claims under the
laws of the states in which they do not reside or in which they suffered no injury.”); In re Effexor
Antitrust Litig., 357 F. Supp. 3d 363, 390–91 (D.N.J. 2018) (“[T]he Court is unpersuaded by
EPPs’ proposition that because they have Article III standing in some states, they can assert
claims in any state; since this would effectively render the Article III inquiry obsolete.”);
McGuire v. BMW of N. Am., LLC, No. 13-cv-7356 (JLL), 2014 WL 2566132, at *6 (D.N.J. June
6, 2014) (“[T]his Court agrees that the Plaintiff here lacks standing to assert claims under the
laws of the states in which he does not reside, or in which he suffered no injury.”).
9
  Courts within the Third Circuit have reached differing conclusions, but the more persuasive
cases require Plaintiff to show it has standing to assert state law claims at the pleading stage.
See, e.g., Plumbers’ Loc. Union No. 690 Health Plan v. Apotex Corp., No. 16-cv-665, 2017 WL
4235773, at *12 (E.D. Pa. Sept. 25, 2017) (deciding named plaintiff’s standing to assert state law
claims at motion to dismiss stage; “standing is a ‘threshold inquiry’ that should not be deferred”)
(quoting Suboxone, 64 F. Supp. 3d at 693–94); see also In re Insulin Pricing Litig., 2019 WL
643709, at *16–*17 (“The threshold standing determination may not be postponed to class
certification”).


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any allegations explaining how the City of Baltimore—a city government located in Maryland—

purchased, paid, and/or provided reimbursement for pediatric vaccine purchases outside of

Maryland. These allegations fall well short of establishing that Plaintiff has suffered the

requisite injury to sue under the laws of these 11 jurisdictions, and those claims should also be

dismissed. See Iqbal, 556 at 678; Phillips, 515 F.3d at 234 (quoting Twombly, 550 U.S. at 545);

Morse, 132 F.3d at 906; Fowler, 578 F.3d at 210–11.

       B. Plaintiff’s Cursory and Threadbare Allegations Are Insufficient to Support Its
          State Law Claims.

       In order to meet the Rule 12(b)(6) standard, Plaintiff is required to go beyond “threadbare

recitals” of the elements of a given cause of action, Iqbal, 556 U.S. at 678, and must plead facts

sufficient to “state a claim to relief that is plausible on its face,” Twombly, 550 U.S. at 570.

Plaintiff’s claims fall well short of this standard. The Complaint provides no particularized

allegations about how the conduct at issue violates each of the differing requirements of the 27

antitrust statutes and 17 consumer protection statutes cited in the Complaint. For the state

antitrust claims, Plaintiff merely recites a laundry list of statutes, without purporting to explain

how Plaintiff’s allegations satisfy any of the elements of those statutes. See Compl. ¶ 223. For

the state consumer protection claims, Plaintiff does not include facts or explanation as to how the

elements of each claim that they purport to recite have been met or violated in any particular

jurisdiction. See id. ¶¶ 225−403.

       Consistent with Supreme Court precedent, the Third Circuit has consistently affirmed that

“‘threadbare recitals of the elements of a cause of action, supported by conclusory statements’

are insufficient” to state a claim. Pearson v. Sec’y Dep’t of Corr., 775 F.3d 598, 604 (3d Cir.

2015) (quoting Iqbal, 556 U.S. at 678). This rule is particularly important where Plaintiff has

brought claims under dozens of state antitrust and consumer protection statutes, each with its



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own requirements and parameters. Plaintiff’s conclusory statements reciting the elements of

each cause of action are insufficient. See Iqbal, 556 U.S. at 678 (“‘[L]abels and conclusions’ or

‘a formulaic recitation of the elements of a cause of action will not do.’”) (quoting Twombly, 550

U.S. at 555).

       Applying the principle adopted in Iqbal, courts have dismissed consumer protection and

antitrust state law claims that merely recite the elements of a cause of action without explaining

how the alleged conduct satisfies those elements. See, e.g., In re Aluminum Warehousing

Antitrust Litig., 833 F.3d 151, 163 (2d Cir. 2016) (affirming dismissal of all state consumer

protection and unfair trade law claims where plaintiffs “fail[ed] to explain adequately how the

defendants’ conduct violated any of the state consumer protection and unfair trade statutes”); In

re Aggrenox Antitrust Litig., 94 F. Supp. 3d 224, 255 (D. Conn. 2015) (“The indirect purchasers

and Humana have listed claims under very many state laws, but they have not truly pleaded

claims under those laws sufficient to show their entitlement to recovery under them, as required

by Rule 8.”) (emphasis in original).

       Plaintiff’s allegations regarding its state consumer protection claims are particularly

“threadbare.” Iqbal, 556 U.S. at 678. Plaintiff attempts to plead those claims by merely alleging

that the facts supporting Plaintiff’s state and federal antitrust claims are also actionable under

state consumer protection laws. This is not sufficient to adequately allege that Merck’s conduct

has violated the consumer protection laws of 17 jurisdictions, each of which has specific,

individualized requirements. See In re Bystolic Antitrust Litig., 583 F. Supp. 3d 455, 498

(S.D.N.Y. 2022) (dismissing state law claims that “merely restate[d] antitrust allegations as

separate consumer protection claims”; plaintiff “cannot simply enumerate a long list of state-law

claims . . . and rely on the defendants and the court to sort out whether or how those laws can act




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as surrogates for antitrust law.”) (citing In re Aggrenox Antitrust Litig., 94 F. Supp. 3d at

255−56); In re Actos End Payor Antitrust Litig., No. 13-CV-9244 (RA), 2015 WL 5610752, at

*28 (S.D.N.Y. Sept. 22, 2015) (“Plaintiffs merely restate their antitrust allegations as separate

consumer protection claims, providing no distinct factual basis for a violation of consumer

protection law. This is insufficient to meet the Rule 8 pleading standard under Twombly and

Iqbal.”).

       C. Several State Law Claims Must be Dismissed for Other Reasons.

       Many of Plaintiff’s state law claims fail for various other reasons specific to the asserted

state laws. As summarized in Appendix 1 and shown in more detail below, Plaintiff’s state law

claims are deficient for the following additional reasons:

           The claims under the antitrust laws of Mississippi and Tennessee fail because
            Plaintiff does not allege that Merck’s alleged conduct has a significant nexus to those
            jurisdictions.

           The claims under Illinois’s antitrust law fail because that state’s law provides that
            indirect purchaser antitrust claims may be brought only by the State’s Attorney
            General, not by a different entity like Plaintiff here.

           The claims under Utah’s antitrust law fail because Plaintiff is not a citizen or resident
            of the state of Utah.

           The claims under the consumer protection laws of California, Florida, New
            Hampshire, and North Carolina fail because Plaintiff does not allege that Merck’s
            alleged conduct has a significant nexus to those jurisdictions.

           The claims under the consumer protection laws of California, the District of
            Columbia, Hawaii, Missouri, Montana, Rhode Island, Utah, and Vermont fail because
            Plaintiff is not an end consumer.

           The claims under the consumer protection laws of Idaho, Nevada, Rhode Island, and
            Utah fail because Plaintiff does not allege that Merck engaged in an unconscionable,
            unfair, or deceptive act or that Plaintiff allegedly relied on any such act.

           The claims under Florida’s Deceptive & Unfair Trade Practices Act (“FDUTPA”) fail
            because Plaintiff has not pled those claims with particularity.




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               1. Plaintiff’s State Antitrust Claims are Deficient Because Plaintiff Cannot
                  Satisfy the Elements of Those Claims.

                           State antitrust statutes requiring that defendant’s conduct have a
                           significant nexus with those states

       The Complaint relies on cursory allegations of inter- and intrastate effects to support its

state antitrust and consumer protection law claims. Specifically, the Complaint alleges that

Merck’s conduct “substantially affected interstate commerce throughout the United States and

caused antitrust injury throughout the United States,” see Compl. ¶ 168; that the conduct

“occurred in part in trade and commerce within the Repealer Jurisdictions set forth herein,” id.

¶ 169; and that Merck sold, and purchasers paid inflated prices for, RotaTeq in the states where

Plaintiff brings state law claims, id. ¶¶ 169–70. These allegations do not establish that the

purported anticompetitive conduct has a significant nexus to Mississippi or Tennessee, as

required to bring claims under those states’ antitrust laws:

          Mississippi: See Miss. Code Ann. § 75-21-3;10 In re Keurig Green Mountain Single-
           Serve Coffee Antitrust Litig., 383 F. Supp. 3d 187, 266-67 (S.D.N.Y. 2019)
           (dismissing antitrust claim because “the antitrust law of Mississippi focuses on the
           location where the anticompetitive conduct occurred rather than the effects of such
           anticompetitive conduct or the broader nexus between the conduct and the state in
           question”); In re Microsoft Corp. Antitrust Litig., No. MDL 1332, 2003 WL
           22070561, at *2 (D. Md. Aug. 22, 2003) (dismissing Mississippi state antitrust claims
           for failure to allege “at least some conduct by [defendant] which was performed
           wholly intrastate”) (emphasis in original) (relying on Standard Oil Co. of Ky. v. State,
           65 So. 468, 471 (Miss. 1914)).

          Tennessee: See Tenn. Code Ann. § 47-25-101; Freeman Indus., LLC v. Eastman
           Chem. Co., 172 S.W.3d 512, 523-24 (Tenn. 2005) (holding that “the proper standard
           for determining whether a case falls within the scope of the [statute] is a ‘substantial
           effects’ standard” and dismissing claim because plaintiff “fail[ed] to establish how
           the . . . anticompetitive conduct affected Tennessee commerce to a substantial degree
           even though the conduct resulted in [plaintiff] paying higher prices”); In re Vitamins
           Antitrust Litig., Nos. MISC NO. 99-197, MDL 1285, 2001 WL 849928, at *6 (D.D.C.
           Apr. 11, 2001) (dismissing Tennessee antitrust claim due to a “notable lack of
           allegations regarding any part of the conspiracy that took place in Tennessee, other

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   While Plaintiff’s claims cite Miss. Code Ann. § 72-21-1 et seq., Merck assumes Plaintiff
intended to cite Mississippi's antitrust statute, Miss. Code Ann. § 75-21-1 et seq.


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           than the purchase of vitamin supplements by indirect purchasers”); In re Magnesium
           Oxide Antitrust Litig., Civ. No. 10-5943 (DRD), 2011 WL 5008090, at *8 n.10
           (D.N.J. Oct. 20, 2011) (finding that Tennessee’s antitrust statute “require[s] a
           showing that such conduct occurred, or whose effect was felt, in-state”).

                           Illinois’s antitrust statute does not permit Plaintiff to bring indirect
                           purchaser class action claims

       Because Plaintiff is an indirect purchaser, it cannot bring its claims under Illinois state

antitrust law. Indirect purchaser antitrust class actions may be brought only by Illinois’ State

Attorney General. See 740 Ill. Comp. Stat. 10/7(2) (“no person shall be authorized to maintain a

class action in any court of this State for indirect purchasers asserting claims under this Act, with

the sole exception of this State’s Attorney General”). Plaintiff’s claim under Illinois state

antitrust law, therefore, must be dismissed. Suboxone, 64 F. Supp. 3d at 699 (acknowledging

that “[t]he Illinois Antitrust Act only permits the state’s Attorney General to bring a class action

on behalf of indirect purchasers,” and dismissing antitrust claims based on Illinois’s consumer

protection law because such claims would “‘constitute an end run around the Illinois legislature’s

determination.’”) (internal citation omitted); In re Flonase Antitrust Litig., 692 F. Supp. 2d at

539 (“Plaintiffs’ [sic] are prohibited from asserting claims under the Illinois Antitrust Act,

because the Act does not provide relief to indirect purchasers through class actions”); In re

Humira Antitrust Litig., 465 F. Supp. at 850 (noting that Illinois law “prohibits class action

antitrust claims brought by indirect purchasers”); In re Opana ER Antitrust Litig., 162 F. Supp.

3d at 723 (concluding that “the Court must apply the Illinois Antitrust Act and dismiss with

prejudice [the] indirect purchaser antitrust claim brought under Illinois law”).

                           Utah’s antitrust law requires a named plaintiff who is a citizen or
                           resident of the state of Utah

       Plaintiff allegedly resides in Maryland. Compl. ¶ 8. That allegation is fatal to Plaintiff’s

claims under Utah’s antitrust act because that law “provides a cause of action for Utah citizens or



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residents.” Utah Code Ann. § 76-10-3109; see also In re Magnesium Oxide Antitrust Litig.,

2011 WL 5008090, at *8 n.10 (“[P]laintiffs lack statutory standing to sue under Utah’s antitrust

laws because they have a citizenship/residency requirement.”). Thus, because Plaintiff is not

resident of Utah, its claims under Utah’s antitrust laws must be dismissed.

               2. Plaintiff’s Consumer Protection Claims are Deficient Because Plaintiff
                  Cannot Satisfy the Elements of Those Claims.

                           State consumer protection statutes requiring that defendant’s conduct
                           have a significant nexus with those states

       In addition to asserting both federal and state antitrust claims, Plaintiff has also alleged

claims under 17 state consumer protection statutes based on the same and/or similar factual

allegations. See Compl. ¶¶ 225−403. Several states’ consumer protection statutes provide a

cause of action only for harm that has a close connection to the state—i.e., harm stemming from

conduct that occurred within the state and/or that substantially affected the state’s residents.

Plaintiff does not include any factual allegations on these points, and so does not adequately state

a claim under the consumer protection laws of California, Florida, New Hampshire, and North

Carolina:

           California: See Cal. Bus. & Prof. Code §§ 17200 et seq.; Meridian Project Sys., Inc.
            v. Hardin Constr. Co., LLC, 404 F. Supp. 2d 1214, 1225–26 (E.D. Cal. 2005)
            (dismissing California consumer protection claim because “no specific intrastate
            misconduct” was alleged; “the specific misconduct identified by [plaintiff] occurred
            in Chicago, Illinois—clearly outside the purview of the [California Unfair
            Competition Law]”).

           Florida: See Fla. Stat. § 501.204(1); Karhu v. Vital Pharms, Inc., No. 13-60768-CIV,
            2013 WL 4047016, at *10 (S.D. Fla. Aug. 9, 2013) (“FDUTPA applies to non-Florida
            residents if the offending conduct took place predominantly or entirely in Florida”)
            (emphasis added).

           New Hampshire: See N.H. Rev. Stat. Ann. § 358-A:2 (“It shall be unlawful for any
            person to use any unfair method of competition or any unfair or deceptive act or
            practice in the conduct of any trade or commerce within this state.”) (emphasis
            added); Wilcox Indus. Corp. v. Hansen, 870 F. Supp. 2d 296, 305 (D.N.H. 2012)
            (“The [New Hampshire Consumer Protection Act] permits relief only for unfair


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           competition that occurs ‘within this state.’ . . . Although Wilcox alleges that the harm
           from defendants’ conduct occurred in New Hampshire, . . . that fact alone is
           insufficient to bring the offending conduct within the fold of the NHCPA.”); Mueller
           Co. v. U.S. Pipe & Foundry Co., No. Civ. 03-170-JD, 2003 WL 22272135, at *6
           (D.N.H. Oct. 2, 2003) (because “commercial conduct which affects the people of
           New Hampshire is actionable under [the New Hampshire Consumer Protection Act]
           only if it occurs within New Hampshire,” plaintiff did not have a cognizable claim
           under New Hampshire consumer protection law).

          North Carolina: See N.C. Gen. Stat. §§ 75-1.1 et seq.; Merck & Co. Inc. v. Lyon, 941
           F. Supp. 1443, 1463 (M.D.N.C. 1996) (dismissing North Carolina consumer
           protection claim where “plaintiffs . . . failed to allege a substantial effect on any in-
           state business operations,” and “[a]ny injury plaintiffs may suffer in North Carolina
           will be incidental”); In re Dealer Mgmt. Sys. Antitrust Litig., 362 F. Supp. 3d 510,
           549 (N.D. Ill. 2019) (“North Carolina’s Unfair Trade Practices Act reaches only
           conduct causing a ‘substantial’ in-state injury, not merely an ‘incidental’ one. When
           plaintiffs do not allege that any wrongful conduct occurred in North Carolina,
           allegations that indirect purchasers paid inflated prices are not sufficient to establish a
           substantial, in-state injury.”) (citations omitted).

                           State consumer protection statutes that permit only consumers to bring
                           suit

       The consumer protection statutes of certain states provide causes of action only for end

consumers, and thus do not create causes of action for entities like Plaintiff (or its alleged class

of “third-party payors”) who provided reimbursement for rotavirus vaccines. See Compl. ¶ 169.

Plaintiff’s claims under the consumer protection laws of California, the District of Columbia,

Hawaii, Missouri, Montana, Rhode Island, Utah, and Vermont must be dismissed on this basis:

          California: In Linear Tech. Corp. v. Applied Materials, Inc., 61 Cal. Rptr. 3d 221, 237
           (Cal. Ct. App. 2007) (“[W]here a UCL action is based on contracts not involving
           either the public in general or individual consumers who are parties to the contract, a
           corporate plaintiff may not rely on the UCL for the relief it seeks.”); Open Text, Inc.
           v. Northwell Health, Inc., No. 2:19-cv-09216-SB-AS, 2021 WL 1235254, at *2 (C.D.
           Cal. Feb. 19, 2021) (“Applying Linear Tech., courts have recognized that it
           essentially withdraws UCL standing from non-competitor corporate plaintiffs seeking
           to bring a UCL action based on contracts not involving the public or individual
           consumers.”) (internal quotation omitted).

          District of Columbia: See D.C. Code § 28-3901; In re Humira Antitrust Litig., 465 F.
           Supp. 3d at 849–50 (finding that “indirect purchasers that reimburse their members”
           have no remedy under the D.C. Consumer Protection Act, which “covers only the
           ultimate retail transaction between the final distributor and the individual member of


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    the consuming public”) (internal formatting omitted); In re Lidoderm Antitrust Litig.,
    103 F. Supp. 3d 1155, 1165 (N.D. Cal. 2015) (“Lidoderm”) (plaintiff health plan “is
    not a consumer under the District of Columbia’s statute,” requiring dismissal of
    plan’s claims under that statute); Shaw v. Marriott Int’l, Inc., 605 F.3d 1039, 1044
    (D.C. Cir. 2010) (“[T]he CPPA does not protect businesses engaged in commercial
    activity.”).

   Hawaii: See Haw. Rev. Stat. § 480-1 (defining “consumer” as “a natural person” who
    makes purchases “primarily for personal, family, or household purposes”); Sergeants
    Benevolent Ass’n Health & Welfare Fund v. Actavis, PLC (“Namenda”), 15-cv-6549
    (CM), 2018 WL 7197233, at *40 (S.D.N.Y. Dec. 26, 2018) (indirect purchaser
    welfare fund could not sue under Hawaii consumer protection statute because it did
    not purchase Namenda “primarily for personal, family, or household purposes”).

   Missouri: See Mo. Rev. Stat. § 407.025(1) (limiting standing to any person who made
    purchases “primarily for personal, family, or household purposes”); In re Packaged
    Seafood Prods. Antitrust Litig., 242 F. Supp. 3d 1033, 1080 (S.D. Cal. 2017)
    (granting dismissal because indirect purchasers “have not pled the requisite
    household, personal, or family purposes” under Missouri law).

   Montana: See Mont. Code Ann. § 30-14-102(1) (authorizing a private cause of action
    for a “consumer,” which the statute defines as “a person who purchases or leases
    goods, services, real property, or information primarily for personal, family, or
    household purposes”); Namenda, 2018 WL 7197233, at *46 (indirect purchaser
    welfare fund had no standing under Montana law because it “did not purchase
    Namenda ‘primarily for personal, family, or household purposes’”); Lidoderm, 103 F.
    Supp. 3d at 1165 (dismissing Montana consumer protection claim brought by health
    plan because it did not qualify as a “consumer” under the statute).

   Rhode Island: See R.I. Gen. Laws § 6-13.1-5.2(a) (creating a cause of action for
    “[a]ny person who purchases or leases goods or services primarily for personal,
    family, or household purposes”); Namenda, 2018 WL 7197233, at *49 (indirect
    purchaser welfare fund “fails to state a claim under the RIDTPA because it did not
    purchase Namenda ‘primarily for personal, family, or household purposes’”); Sheet
    Metal Workers Loc. 441 Health & Welfare Plan v. GlaxoSmithKine, PLC, 737 F.
    Supp. 2d 380, 423 (E.D. Pa. 2010) (dismissing RIDTPA claim because “[t]hough the
    plaintiff welfare plans are not corporations, neither are they individuals who
    purchased Wellbutrin SR for ‘personal, family, or household purposes’”); Whouley v.
    Shoreham, Inc., C.A. No. 08-411S, 2009 WL 762315, at *3 (D.R.I. Mar. 23, 2009)
    (“The Act applies to ‘persons,’ and although persons is defined broadly in the Act . . .
    [to include corporations], only those ‘persons’ who purchase or lease goods or
    services primarily for personal, family, or household purposes may sue under the Act
    so the coverage of the Act is actually much narrower.”) (citation omitted).

   Utah: See Utah Code Ann. § 13-11-19 (provides for actions for damages by a
    consumer); Icon Health & Fitness, Inc. v. ConsumerAffairs.com, No. 1:16-CV-
    00168-DBP, 2018 WL 1183372, at *5 (D. Utah Mar. 6, 2018) (“Plaintiff's UCSPA


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           claim must be dismissed because the UCSPA affords a cause of action only to a
           ‘consumer.’”).

          Vermont: See Vt. Stat. Ann. tit. 9, §§ 2451 et seq.; Staley v. Gilead Scis., Inc., 446 F.
           Supp. 3d 578, 641-42 (N.D. Cal. 2020) (dismissing consumer protection claim
           because plaintiff union insurers were third-party payors and not “consumers” for
           purposes of the Vermont Consumer Fraud Act).

                           State consumer protection statutes that require an unconscionable,
                           unfair, or deceptive act and consumer reliance on such an act

       The consumer protection claims under the laws of Idaho, Nevada, Rhode Island, and

Utah must be dismissed because those state statutes do not provide a remedy for antitrust claims

absent an unconscionable, unfair, or deceptive act meeting the limitations set out in the statutes

in question. Plaintiff’s conclusory assertions do not meet the high bar to plead such acts. See

Compl. ¶¶ 276, 319, 322, 343, 345, 361, 364−65, 384−86. Plaintiff’s consumer protection

claims under the laws of Idaho, Nevada, Rhode Island, and Utah must therefore be dismissed:

          Idaho: State v. Daicel Chem. Indus., Ltd., 106 P.3d 428, 435 (Idaho 2005)
           (anticompetitive conduct is not cognizable under Idaho’s Consumer Protection Act
           because it is not “‘sales conduct’ that is directed at the consumer”); Sheet Metal
           Workers, 737 F. Supp. 2d at 411 (dismissing Idaho Consumer Protection Act claim;
           statute applies only to “business transactions directly involving consumers”);
           Lidoderm, 103 F. Supp. 3d at 1168 (similar).

          Nevada: See Nev. Rev. Stat. § 598.0915 (enumerating specific conduct prohibited
           under the statute, which does not include antitrust violations); Motogolf.com, LLC v.
           Top Shelf Golf, LLC, 528 F. Supp. 3d 1168, 1179 (D. Nev. Mar. 25, 2021)
           (dismissing Nevada consumer protection claim because “Motogolf has not alleged
           that it relied on the defendants’ alleged misrepresentations under the [Nevada
           Deceptive Trade Practices Act] and it does not dispute that reliance is a necessary
           element.”).

          Rhode Island: See R.I. Gen. Laws § 6-13.1-1(6) (enumerating specific conduct
           prohibited under the statute, which does not include antitrust violations); In re
           Graphics Processing Units Antitrust Litig., 527 F. Supp. 2d 1011, 1030–31 (N.D.
           Cal. 2007) (dismissing Rhode Island consumer protection claim because “Rhode
           Island’s unfair-competition statute has been interpreted to foreclose claims based on
           antitrust violations,” and “Rhode Island does not permit state-law antitrust claims by
           indirect purchasers”); In re Dynamic Random Access Memory (DRAM) Antitrust
           Litig., 516 F. Supp. 2d 1072, 1116 (N.D. Cal. 2007) (dismissing claim because the



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           alleged antitrust conduct does not “fall within the enumerated list of conduct and
           activity that the [Rhode Island statute] defines”).

          Utah: See Utah Code. Ann. §§ 13-11-4, -5 (enumerating specific conduct prohibited
           under the statute, which does not include antitrust violations); In re Humira Antitrust
           Litig., 465 F. Supp. 3d at 853 (dismissing claim under the Utah Consumer Sales
           Practices Act because defendants’ alleged patent misuse was not unconscionable
           since it “did not involve either gross bargaining power or oppression” as those terms
           have been interpreted by Utah courts); In re DRAM Antitrust Litig., 516 F. Supp. 2d
           at 1117 (dismissing antitrust claim brought under Utah Consumer Sales Practices Act
           because the act “prohibits only ‘deceptive’ and ‘unconscionable’ acts, which are
           expressly enumerated in the statute, and none of which include antitrust violations”).

                           Florida’s consumer protection statute requires that claims be pled
                           with particularity

       Plaintiff has not met the heightened pleading standard required to plead a claim under the

FDUTPA. See Wrestlereunion, LLC v. Live Nation Television Holdings, Inc., No. 8:07-cv-2093-

JDW-MSS, 2008 WL 3048859, at *3 (M.D. Fla. Aug. 4, 2008) (“[C]laims arising under the

FDUTPA must be pled with particularity” consistent with “the heightened pleading standard

requirements of [Federal Rule of Civil Procedure] 9(b).”); In re Packaged Ice Antitrust Litig.,

779 F. Supp. 2d 642, 665 (E.D. Mich. 2011) (dismissing FDUTPA claim; “[N]othing relieves an

indirect purchaser suing under the act from the burden of pleading the claim with particularity.”).

When pleading a claim under the FDUTPA, a plaintiff must demonstrate three elements with

particularity: (1) a deceptive act or unfair practice, (2) causation, and (3) actual damages.

Sunoptic Techs., LLC v. Integra Luxtec, Inc., No. 3:08-cv-878-J-16JRK, 2009 WL 722320, at *4

(M.D. Fla. Mar. 18, 2009) (citing City First Mortg. Corp. v. Barton, 988 So.2d 82, 86 (Fla. Dist.

Ct. App. 2008)). Plaintiff has not demonstrated these elements, and instead rests on conclusory

recitations of the elements of each claim, as it does for its state law claims generally. See

Sunoptic Techs., 2009 WL 722320, at *4 (dismissing claims under FDUTPA that “contain[ed]

nothing more than statements demonstrating the elements of a FDUTPA claim”); Compl.




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¶¶ 253−264. As a result, Plaintiff has failed to meet the heightened pleading standards required

by Rule 9(b) and the FDUTPA, and Plaintiff’s claims under the FDUTPA must be dismissed.

                                        CONCLUSION

       For the foregoing reasons, the Court should dismiss the Complaint with prejudice.

Dated: May 9, 2023

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